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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Katie J. Felder, as trustee for the next of      Court File No.: 07-CV-04929 (DSD/JJK)
kin of Dominic Aries Felder,

                     Plaintiff,

vs.
                                                  PARTIES AGREED UPON AND
Jason King, individually, and in his               STIPULATED FACTS THAT
official capacity as a City of Minneapolis         HAVE BEEN PROVEN AND
Police Officer; Lawrence Loonsfoot,                  ARE NOT IN DISPUTE
individually and in his official capacity as a
City of Minneapolis Police Officer,

                     Defendants.


       1.     On September 20, 2006, near the intersection of the 3900 block of

Bloomington Avenue South and 40th Street in the City of Minneapolis, two Minneapolis

Police Officers, Lawrence Loonsfoot (Badge # 4234) and Jason King (Badge # 3704)

discharged their weapons a total seven times killing Dominic Felder.

       2.     At the time of the incident, Dominic Felder lived with Tiana Wilson and

their daughter, Destiny Felder, at 3952 Bloomington Avenue South.

       3.     At the time of the incident, Dominic Felder, a 27 year old African-

American man who weighed approximately 150 pounds and was approximately 5’1” tall.

       4.     At the time of the incident, officer King, a Caucasian male, weighed

approximately 170 pounds and was approximately 5’7” tall.

       5.     At the time of the incident, officer Loonsfoot weighed approximately 205

pounds and was approximately 5’7” tall.
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       6.     On September 20, 2006, officers King and Loonsfoot were assigned to

Squad 320 working the mid-watch in the 3rd precinct.

       7.     At about 11:35 p.m. officers King and Loonsfoot were dispatched to 3952

Bloomington Avenue to check on a second hand report of a domestic argument.

       8.     On September 20, 2006, while officers King and Loonsfoot were en-route

to 3952 Bloomington Avenue they received a second call from the dispatcher, who told

them that the “ex-boyfriend involved now is out front threatening to kill a resident and

her son,” and the dispatcher identified the ex-boyfriend as Dominic Felder, black male,

27, 5 foot tall, medium build, brown shirt, blue jeans.

       9.     The dispatcher did not report to officers King and Loonsfoot that Dominic

Felder had a weapon or that anyone had been hurt.

       10.    Officers King and Loonsfoot arrived at 3952 Bloomington Avenue South at

about 11:38 p.m.

       11.    In responding to the report of a domestic argument at 3952 Bloomington

Avenue, officers King and Loonsfoot did not activate their emergency equipment upon

arrival at the scene.

       12.    Officers King and Loonsfoot did not activate squad 320’s on-board video

camera recording equipment.

       13.    From the time officer King and officer Loonsfoot arrived at 3952

Bloomington Avenue to when shots were fired was approximately 1 minute and 38

seconds.




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      14.       Following the incident several Minneapolis police squads responded to the

scene of the incident and recording equipment was not activated.

      15.       At the time of the incident, it was a policy of the MPD to protect and to

serve the public with compassion.

      16.       At the time of the incident, squad 320 was equipped with a Mobil-Vision

video system.

      17.       The Mobil-Vision video system used a small, low-light, windshield

mounted color camera, and recorded video and audio signals.

      18.       One reason that the City of Minneapolis has placed video recording

cameras in MPD squad cars is to facilitate the collection of evidence for criminal

prosecution or complaint investigation.

      19.       One reason that the City of Minneapolis has installed video recording

cameras in MPD squad cars is to assist in examining whether a police officer’s conduct

was proper in a given instance.

      20.       On September 20, 2006, when officers King and Loonsfoot arrived at 3952

Bloomington Avenue South (a) Dominic Felder walked up to the officers and said “I got

to talk to you,” and (b) Felder told King and Loonsfoot “I ain’t got nothing” and he

pulled up his shirt and motioned up and down with his hands while repeating, “I ain’t got

nothing.”

      21.       Tiana Wilson, Dominic Felder’s girlfriend, and Teri Williams, Ms.

Wilson’s mother, were on the scene when squad 320 arrived.




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       22.    On their arrival at 3952 Bloomington Avenue South, officers King and

Loonsfoot had no specific conversation with Ms. Wilson or Ms. Williams about them

having called 911 or injuries.

       23.    As Dominic Felder jogged away from officers King and Loonsfoot, he did

not make any verbal threats toward King and Loonsfoot.

       24.    At the time Officers King and Loonsfoot pursued Dominic Felder in squad

320, the officers had no information that anyone had been physically injured or hurt by

Felder.

       25.    At the time Officers King and Loonsfoot pursued Felder in squad 320, the

defendant officers had received no reports from anyone that Felder had any type of

weapon.

       26.    When King and Loonsfoot pursued Felder, who ran south along the east

side of Bloomington Avenue, the officers drove down the middle of Bloomington

Avenue without using squad 320’s siren, emergency flashers, overhead lights or

spotlight.

       27.    When King and Loonsfoot were in pursuit, Felder stopped jogging near the

bus stop located on the east side of Bloomington Avenue at the intersection of 40th Street

and Bloomington Avenue South, turned around, and walked north back toward squad

320.

       28.    As Felder walked back toward squad 320, officer King drove squad 320

over the center line, on the wrong side of Bloomington Avenue, and parked the squad in




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the street with no emergency lights or flashers employed and the squad’s video recording

camera system still not operating.

       29.   Officer King exited squad 320 with his weapon drawn and ordered Felder

to put his hands up; Felder immediately complied.

       30.   Officer King ordered Felder to get down on the ground with his hands out

where King could see them, and Felder complied with King’s command.

       31.   When officer King and officer Loonsfoot got out of the squad with officer

King having his weapon drawn and Felder having gotten onto the ground as directed the

use of deadly force would not have been justified.

       32.   DNA swabs of officer King’s gun were taken from the bottom of the

magazine and bottom of the grip and Felder’s DNA was excluded from the bottom of the

grip and the bottom of the magazine.

       33.   On December 11, 2006, Plaintiff, through her attorney, James

Behrenbrinker, placed the City of Minneapolis on notice of claims stemming from the

homicide of Dominic Felder.

       34.   On December 11, 2006, Plaintiff, through her attorney, James

Behrenbrinker, requested the MPD to preserve all evidence relating to the homicide of

Dominic Felder.

       35.   On February 22, 2007, the City of Minneapolis, through its attorney,

Timothy S. Skarda, asked Plaintiff’s counsel whether officer King’s weapon could be

released.




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        36.   On March 5, 2007, Plaintiff, through her attorney James Behrenbrinker,

informed the City of Minneapolis that she would not agree to the release of officer King’s

weapon, because Plaintiff intended to perform testing and analysis on King’s service

weapon.

        37.   On June 27, 2007, the City’s attorney, Timothy S. Skarda, informed

Plaintiff’s counsel that officer King’s service weapon had been returned to defendant

King.

        38.   At the time of the homicide, Dominic Felder was not intoxicated or under

the influence of any prescription drugs or illegal mood altering drugs of any kind.

Dated: October 14, 2010                   JAMES R. BEHRENBRINKER
                                           Attorney at Law

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Dated: October 14, 2010            SUSAN L. SEGAL
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                                   By

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